     Case 1:25-cv-03297-SHS-OTW                      Document 84           Filed 05/22/25          Page 1 of 2



UNITED STATES D[STRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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INRE:                                                                     25-md-3143 (SHS) {OTW)

OPENAI, INC.,
COPYRIGHT INFRL.1\JGEMENT LITIGATION                                      CASE MANAGEMENT.
                                                                          ORDER#2

This Document Relates To:

All Actions
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SIDNEY I-1. STEIN, U.S. District Judge.
      For the reasons set forth on the record at the case management conference today, it
is h ereby ORDERED that:
    J.        LEADERSHIP COUNSEL

    The Court appoints a Leadership Committee for the News Plaintiffs1 consisting of
four law firms and six attorneys, namely: (1) Susman Godfrey, \vi th Ian Crosby as Lead
and Davida Brook a.s Co-Lead; (2) Rothwell Figg, with Steven Lieberman as Lead and
Jennifer Maisel as Co-Lead; (3) Loevy and Loevy, with Matthew Topic as Lead; and (4)
Klaris Law, with Lance Koonce as Lead. The Court appoints Davida Brook as Liaison
Counsel.
     The Class Plaintiffs2 are directed to submit a proposal for the appointment of a
single interim class counse] pursuant to Federal Rule of Civil Procedure 23(g) by May
28, 2025. If the Class Plaintiffs cannot reach an agreement, they are directed to submit
their competing applications on or before May 28, 2025.


1 The News Plaintiffs are the plaintiffs in the following actions: The New York Times Compnny v. Microsoft

Corpomtion, et nl., No. 23-cv-11195, D,rily News, LP ct al. v. Microsoft Corpomtio1t1 ct al., No. 24-cv-03285, Raw
Story Media, Inc., et nl. v. OpenAI, Inc., et al., No. 24-cv-01514, The Intercept Media, Inc. -u. OpenAl, lrlc., cl nl.,
No. 24-cv-01515, The Center/or Investigative Reporting, Inc, v. OpenAI, Inc., et al., No. 24-cv-04872, and Ziff
Dt1vis, Inc., et al. v. OpenAl, fltc. et al., No. 25-cv-04315.
2 The Class Plaintiffs are the plaintiffs in the following putative class actions: Tremblay, et al, v, OpenAI,

Inc., et al., 25-cv-03482 (including the two actions that have been consolidated with Trembla.1f: Silverman, et
al. v. OpenAI, Inc., et al., 25-cv-03483 and Chabon, et td. v. OpenAI, Inc., et c,l., 25-cv-03291); and Authors
G1dld1 et al. v. Ope1tAl1 Inc., et al., 23-cv-08292 (including the action that has been consolidated with Authors
Guild: Alter, et al. v. OpenAI, Inc., ct al., 23-cv-10211). Separately, Basb,mes, et al. v. Microsoft Corporation, et
nl., 24-cv-00084 and Millette v. OpenAT, Inc., et al., 25-cv-03297 have been ~tayed pending a ruling on class
certification or summary judgment in the consolidated class action.

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   Case 1:25-cv-03297-SHS-OTW          Document 84       Filed 05/22/25    Page 2 of 2



    The responsibiliHes and authority of Leadership and Liaison Counsel are as set forth
in the Manual for Complex Litigation, Fourth§§ 10.221 and 40.22.
   IL     CONSOLIDATED CLASS ACTION COMPLAINT

    The Class Plaintiffs shall file a single Consolidated Class Action Complaint on or
before June 13, 2025, which is to include only the same products and causes of action
that have already been asserted in the pending putative class actions.
   III.   THE PETRYAZHNA ACTION (FORMERLY MILLETTE V. 0PENAI)

   The parties shall file a stipulation on or before May 23, 2025 to stay the Petryazhna
matter pending a determination of class certification or summary judgment in the
consolidated class action.
   IV.    ADDlT.lONAL DEADLINES

   The Times is directed to submit a stipulation that its motion for leave to amend the
complaint is unopposed on or before May 27, 2025.
    Defendants are directed to file their oppositions to Raw Story Media's motion for
reconsideration on or before Tuesday, May 27, 2025. Raw Story Media shall file its
reply on or before June 2, 2025.
    Defendants shall file i-esponses to the Ziff Davis complaint 011 or before June 10,
2025.
    The parties shall submit a joint proposed case schedule on or before June 17, 2025.
The deadline for motions for sumrnary judgment must precede class certification
briefing in the proposal. If the parties cannot agree upon a proposed case schedule, they
shall submit their competing proposals on or before June 17, 2025.
   V.     ADDITIONAL MATTERS

    Discovery is deemed to be open in the Ziff Davis action. All other matters pertaining
to discovery, including protective orders, discovery coordination, deposition p rotocols,
and training data inspection pmtocols, will be addressed by Judge ,,Vang at the May 27,
2025 discovery status conference.


Dated: New York, NewYork
       May 22, 2025




                                          Sidney H.itein~ U.S.D.J.

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